
69 So.3d 1142 (2011)
Takeisha WILLIAMS individually and o/b/o her minor child Najae Mott, Deborah Williams, Shamika Williams individually and o/b/o her minor child Sanye Evans and Glenese Boyd
v.
Andrew ZAR and Department of Transportation, a Political Subdivision of the State of Louisiana.
No. 2010-CC-2772.
Supreme Court of Louisiana.
September 16, 2011.
Denied. See Burnett v. James Construction Group, 10-2608 (La.7/1/11), 66 So.3d 482, and Whitley v. State of Louisiana, 11-0040 (La.7/1/11), 66 So.3d 470.
